 Case 17-22014-CMG                        Doc 44 Filed 10/22/17 Entered 10/23/17 00:36:17                             Desc Imaged
                                               Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1
                       Meadow Thorne                                               Social Security number or ITIN   xxx−xx−4613
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of New Jersey

Case number:          17−22014−CMG

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Meadow Thorne


             10/20/17                                                      By the court: Christine M. Gravelle
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 17-22014-CMG
Meadow Thorne                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Oct 20, 2017
                                      Form ID: 318                       Total Noticed: 16

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 22, 2017.
db            #+Meadow Thorne,    48 Parkside Court,    Glen Gardner, NJ 08826-3640
pp             +Diane Schultz,    81 N. Broad St.,    Phillipsburg, NJ 08865-1206
516877808       Chrysler Financial,    P.O. Box 660335,,    Dallas, TX 75266-0335
516877809      +HSBC Bank /Best Buy,    PO Box 60578,    Los Angeles, CA 90060-0578
516877811      +NJ Surcharge Violations System,     POB 4850,   Trenton, NJ 08650-4850
516879782      +Orion,    c/o of PRA Receivables Management, LLC,    PO Box 41021,   Norfolk, VA 23541-1021
516877812       Parkside,    Parkside Court,   Glen Gardner, NJ 08826
516877813      +Pioneer,    197 SW Waterford Court,    Lake City, FL 32025-0711
516877814      +Pioneer,    197 Waterford court,    Lake City, FL 32025-0711
516877815      +San Isabel electric,    781 E Industrial Blvd,    Pueblo, CO 81007-1592
516877817      +Verizon,    P.O. Box 4846,   Trenton, NJ 08650-4846

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Oct 20 2017 23:05:05      U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Oct 20 2017 23:05:00      United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,   One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
516877810      +EDI: MID8.COM Oct 20 2017 22:48:00      Midland Credit,   2365 Northside Dr. 300,
                 San Diego, CA 92108-2709
516877816      +EDI: TDBANKNORTH.COM Oct 20 2017 22:48:00      TD bank,   1701 Route 70 East,
                 Cherry Hill, NJ 08003-2335
516877818      +E-mail/Text: bankruptcyreports@wakeassoc.com Oct 20 2017 23:05:55      Wakefield & Associates,
                 3091 S Jamaica Ct. 200,    Aurora, CO 80014-2639
                                                                                              TOTAL: 5

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 22, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 20, 2017 at the address(es) listed below:
              Barry R. Sharer    CShapiro@SharerPBS.com, BSharer@SharerPBS.com;nj83@ecfcbis.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
